Case 5:14-cv-00065-EKD-JCH Document 63 Filed 09/12/16 Page 1 of 2 Pageid#: 701




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Harrisonburg Division

 GORDON GOINES,
                               Plaintiff,
 v.                                                                  Case No.: 5:14CV00065
 DAVID SHAW and
 ROBERT DEAN,
                               Defendants.

                                STIPULATION OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) the parties hereby stipulate to

 the dismissal of this action with prejudice as to the only two remaining defendants, David Shaw

 and Robert Dean, in this case. Each party is to bear its own attorneys’ fees and costs.

        Respectfully submitted,



 s/Timothy Coffield
 Timothy Coffield, Esquire (VSB #83430)
 5374 Gordonsville Road
 Keswick VA 22947
 Phone: 434-218-3133
 tc@coffieldlaw.com
 Counsel for Gordon Goines

 s/Richard H. Milnor
 Richard H. Milnor, Esquire (VSB #14177)
 Zunka, Milnor & Carter, Ltd.
 414 Park Street
 P O Box 1567
 Charlottesville VA 22902
 Phone: 434-977-0191
 Fax: 434-977-0198
 rmilnor@zmc-law.com
 Counsel for David Shaw and Robert Dean
Case 5:14-cv-00065-EKD-JCH Document 63 Filed 09/12/16 Page 2 of 2 Pageid#: 702




                                CERTIFICATE OF SERVICE

 I certify that on September 12, 2016 and true copy of the foregoing was uploaded to the Court’s
 CM/ECF system, which will provide electronic notice to the following:

                              Richard H. Milnor, Esquire (VSB #14177)
                              Zunka, Milnor & Carter, Ltd.
                              414 Park Street, P O Box 1567
                              Charlottesville VA 22902
                              Phone: 434-977-0191
                              Fax: 434-977-0198
                              rmilnor@zmc-law.com

                              Attorney for David Shaw and Robert Dean


 BY:    /s/Timothy Coffield
